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15    UBER TECHNOLOGIES, INC.
      and OTTOMOTTO LLC
16
                                   UNITED STATES DISTRICT COURT
17
                                  NORTHERN DISTRICT OF CALIFORNIA
18
                                        SAN FRANCISCO DIVISION
19
      WAYMO LLC,                                      Case No.     3:17-cv-00939-WHA
20
                           Plaintiff,                 CERTIFICATE OF SERVICE
21
             v.
22                                                    Trial Date: October 10, 2017
      UBER TECHNOLOGIES, INC.,
23    OTTOMOTTO LLC; OTTO TRUCKING LLC,
24                         Defendants.
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     CERTIFICATE OF SERVICE
     CASE NO. 3:17-CV-00939-WHA
      Case 3:17-cv-00939-WHA Document 1708-5 Filed 09/20/17 Page 2 of 3



1                                       CERTIFICATE OF SERVICE

2            I declare that I am employed with the law firm of Boies Schiller Flexner LLP, whose

3     address is 1999 Harrison St., Suite 900, Oakland, CA. I am not a party to the within cause, and I

4     am over the age of eighteen years.

5            I further declare that on September 20, 2017, I served UNREDACTED versions of the

6     following documents:

7                1. [CORRECTED] Revised Proposed Redactions to Dkts. 1666-2, Exhibit A to

8     Nardinelli Declaration in Support of Waymo’s Renewed MIL 1

9                2. [CORRECTED] Revised Proposed Redactions to Dkts. 1666-3, Exhibit B to

10    Nardinelli Declaration in Support of Waymo’s Renewed MIL 1;

11               3. [CORRECTED] Revised Proposed Redactions to Dkts. 1666-4, Exhibit G to

12    Nardinelli Declaration in Support of Waymo’s Renewed MIL 1;

13               4. [CORRECTED] Revised Proposed Redactions to Dkt. 1666-5, Exhibit 28 to

14    Goodman Declaration in Support of Opposition to Waymo’s Renewed MIL 1;

15               5.   [CORRECTED] Revised Proposed Redactions to Dkt. 1666-6, Exhibit 35 to

16    Goodman Declaration in Support of Opposition to Waymo’s Renewed MIL 1.

17           The documents were served by ELECTRONIC SERVICE [Fed. Rule Civ. Proc. Rule

18    5(b)] by electronically mailing a true and correct copy through Boies Schiller Flexner LLP

19    electronic mail system to the e-mail address(es) set forth below.

20    Recipient                                                       Email Addresses
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28    FARELLA BRAUN + MARTEL LLP

     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
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      Case 3:17-cv-00939-WHA Document 1708-5 Filed 09/20/17 Page 3 of 3



1     Recipient                                                       Email Addresses
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4     Special Master
5
      I declare under penalty of perjury that the foregoing is true and correct. Executed on the 20th day
6
      of September, 2017, at Oakland, California.
7
                                                              By: /s/ Jenel Day
8                                                                     Jenel Day
9
                                               ATTESTATION
10

11           In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

12    document has been obtained from every other signatory to this document.

13
                                                              By: /s/ Karen L. Dunn
14                                                                 Karen L. Dunn
15

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     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
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